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AO 91 (Rev. 11/11) Criminal Complaint : ; . Scuttera fh ile oes

UNITED STATES DISTRICT COURT JAN fg 209

 

 

 

 

for the’
Southern District of Texas Clerk 0f Coup
United States of America )
. 5 ~ Case No M-AT~ 0109-M
1. Vanessa LOPEZ (1996/US) J :
)
)
)
Defendant(s)
CRIMINAL COMPLAINT |
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 15, 2019 in the county of Refugio in the
Southern District of Texas , the defendant(s) violated:
Code Section : . Offense Description
21 USC § 841 Possession of a Controlled Substance with Intent to Distribute /

Approximately 12 Kilograms of Cocaine, a Schedule II Controlled Substance.

21 USC § 846 ; . Conspiracy to Possess with Intent to Distribute a Controlled Substance /
: Approximately 12 Kilograms of Cocaine, a Schedule II Controlled Substance.

This criminal complaint is based on these facts:

See Attachment "A"

@ Continued on the attached sheet.

Apparecd hy tebe o_B-

Complainant's signature

EE Nicholas C. Stott, HSI Special Agent

Printed name and title

 

Sworn to before m igned in my presence.

 

Date: 01/16/2019

Judge’s signature
City and state: McAllen, Texas agistrate Judge J. Scott Hacker

Printed name and title

 
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Attachment A

I, Nicholas C. Stott, am a Special Agent of the United States Homeland Security Investigations
(HSI) and have knowledge of the following facts. The facts related in this attachment do not reflect
the totality of information known to me or other agents/officers, merely the amount needed to
establish probable cause. I do not rely upon facts not set forth herein in reaching my conclusion
that a complaint should be issued, nor do I request that this Court rely upon any facts not set forth
herein in reviewing this attachment in support of the complaint.

1,

On January 15, 2019, Homeland Security Investigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the Refugio County Sheriff's Office in
Refugio, Texas. Deputies with the Refugio County Sheriffs Office arrested Vanessa LOPEZ
(hereinafter LOPEZ), a citizen of the United States, after being found in possession of
approximately 12 kilograms (kg) of cocaine concealed within aftermarket constructed
concealed compartments in the floor and undercarriage area of the Ford sport utility vehicle
she was driving.

Refugio County Sheriff's Office deputies stopped LOPEZ for committing a traffic violation
on North Victoria Highway in Refugio, Texas. LOPEZ was traveling with a female passenger
and a minor. =

. During the course of the traffic stop, Refugio County Sheriffs Office deputies became

suspicious that LOPEZ was involved in criminal activity and requested and were given consent
to search the vehicle.

A physical search of the vehicle was conducted, and 12 tape wrapped packages, weighing
approximately 12 kilograms, were discovered concealed within aftermarket constructed
concealed compartments in the floor and undercarriage of the vehicle. Refugio County

Sheriff's Office deputies field tested the substance inside the packages which were positive for
~ the characteristics of cocaine.

Homeland Security Investigations (HSI), Special Agents (SA) responded to the Refugio
County Sheriffs Office to assist in the investigation. HSI SAs interviewed LOPEZ who, after
providing several inconsistent and false statements, stated she was being paid by an unknown .
person in Mexico: to transport what she suspected to be drugs from Mexico into the United
States and to deliver said drugs to another unknown individual. LOPEZ admitted to making
several previous trips into the United States for the purpose of smuggling, including while
traveling with one of her children.
